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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )                8:98CR140-2
                   Plaintiff,           )
                                        )
             v.                         )
                                        )              MEMORANDUM
JAMAL ADAMS,                            )               AND ORDER
                                        )
                   Defendant.           )

      The defendant has filed or tendered for filing a motion that I construe as
seeking a reduction of sentence pursuant to the retroactive amendments to the “crack”
Guidelines. The Court has developed procedures to deal with such a motion.
Therefore,

      IT IS ORDERED that no later than May 5, 2008, the probation office shall
provide the undersigned and counsel of record with a “Retroactive Sentencing
Worksheet.” If the officer requires additional time, a request may be made to the
undersigned by e-mail. The Clerk’s office shall provide the Probation Office with a
copy of this order.

      March 20, 2008.                  BY THE COURT:

                                       s/Richard G. Kopf
                                       United States District Judge
